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                           UNITED STATES DISTRICT COURT

                            MIDDLE DISTRICT OF LOUISIANA

MINUTE ENTRY:
AUGUST 30, 2023
CHIEF DISTRICT JUDGE SHELLY D. DICK

ALEX A.                                                               CIVIL ACTION

VERSUS
                                                                      22-573-SDD-RLB
JON BEL EDWARDS, ET AL.


This matter came on this day for a continuation Hearing on Preliminary Injunction.

      PRESENT:       David J. Utter, Esq.
                     Nancy Rosenbloom, Esq.
                     Marisol J. Domingues-Ruiz, Esq.
                     Meghan K. Matt, Esq.
                     Susan M. Meyers, Esq.
                     Ashley Dalton, Esq.
                     Russell D. Barksdale, Esq.
                     Christopher James Murell, Esq.
                     Counsel for Plaintiffs

                     Connell Lee Archey, Esq.
                     Allena Brooke McCain
                     Lemuel E. Montgomery, III,
                     Esq.
                     Carly H. Chinn, Esq.
                     Anna Morris, Esq.
                     Madaline King Rabalais, Esq.
                     Counsel for Office of Juvenile Justice

      Lt. Col. Travion Gordon resumes his testimony.

      Linda London is sworn and testifies.

      The court ordered the court reporter to redact juvenile names from the record.

      Shenell Deville is sworn and testifies.

      The court ordered the court reporter to redact juvenile names from the record.
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          Proffered exhibits placed on the record.

          Court resumes.

          Defendant rests.

          There having been no rebuttal, the Court takes this matter under advisement.

          Response to the Motion for Spoliation Sanctions Regarding Absence of Body-

Worn Camera Footage1 shall be filed by September 5, 2023.

          The Court will issue its ruling from the Bench on September 8, 2023, at 11:00 a.m.

          The Court orders that the record should reflect that Defendants oppose the Motion

for Preliminary Injunction2 and have not waived any defense because the Court has

precluded post hearing briefing/opposition briefing.

          Defendants re-urge their Motion to Dismiss under Article III. The Court takes under

advisement and will rule on September 8, 2023.

          Court is adjourned.


                                            *****

C: 13b;T-5.5 hrs.
S. Thompson/Reporter




1
    Rec. Doc. 242.
2
    Rec. Doc. 163.
